                          3:19-cv-03195-CSB # 24            Page 1 of 4
                                                                                                     E-FILED
                                                                    Friday, 18 September, 2020 11:07:23 AM
                                                                                Clerk, U.S. District Court, ILCD




   l)wl4?:tte /2.PtJ&
Plaintiff/ Pet it ioner

                    Vs.




                             PROOF/CERTIFICATE OF SERVICE

                                                    To:   f/4v, ::su.d0f.. Col, 1J .inti,¼ BU,(__ct..
                                                      U,,£t J) t 5-nl-t c..,,~ 0?µ..~
                                                     Ce&--r(IA\ P\S'!M c...~o ...f ~ti, JA?IS
                                                     ll<Btk-P--1 ~t, <et eoa.-3~-YB
       PLEASE TAKE NOTICE that at: _ _ AM/PM ~tr·.'t:>f-L l ~ • 20_g.Q I
placed the documents listed below in the institutional mail at   6:?LA UA
                                                                        .      ~
                                                                                    C.,, C: ,
Correctional Center, properly addressed t o t he parties listed above for mailing through the
United States Postal Service.




Pursuant t o 28 USC 1746. 18 USC 1621 or 735 lLCS 5/1-109 1 declare, under penalty of perjury
that I am a named party in the above action. t hat I have read the above documents, and that
the inform ation contained therein is true and correct to the best of my knowledge and belief.




Revised 4/ 15/ 15
         3:19-cv-03195-CSB # 24   Page 2 of 4




                                    \ 1\...0 ( ~




-..;.
 /   L




                                                   do.
3:19-cv-03195-CSB # 24   Page 3 of 4




         D77l>~ ..
           3:19-cv-03195-CSB # 24                   Page 4 of 4


                          --Qlfflll
                      HJJNOIS DEPMl'M£HT OF CXIR11£CTION$
                      HOUSING 'UNIT a.EANING lOG




              Date:
                                   3PM • 11PM
                                  Cam letlon Times                              nTimes

Bathroom



Mo

Shower

Desks

  alls

Tra5h
Door
Handles
Light
Switches
Ice




                                    Staff Name Printed              Stoff Name Printed




                                 Lieutenant Name Printed          UeuteNnt Name Pl'fnted



                                   Ueutllnant Silnature            L~uter.ant 51&nature




                          _ _ lllcykN..,.
